
Memorándum. The order of the Appellate Division, granting defendants’ motion to dismiss on the ground of forum non conveniens should be affirmed. In Silver v. Great Amer. Ins. Co. (29 N Y 2d 356, 361) we stated that forum non conveniens is an equitable doctrine the application of which “ should turn on considerations of justice, fairness and convenience ”. The Appellate Division by considering all of the pertinent factors affecting the convenience of our courts as well as that of the parties and the availability of an alternative forum properly exercised its discretion. (See, e.g., Varkonyi v. Varig, 22 N Y 2d 333, 338; Gulf Oil Corp. v. Gilbert, 330 U. S. 501, 508; 1 Weinstein-Korn-Miller, N. Y. Civ. Prac., par. 327.02.)
Chief Judge Breitel and Judges Gabeielli, Jones, Wachtler, Babin, Stevens and Witmer* concur.
Order affirmed, with costs, in a memorandum.

 Designated pursuant to section 2 of article VI of the State Constitution.

